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          In the United States Court of Federal Claims
____________________________________
                                  )
PRECISION PINE & TIMBER, INC., )
                                  )                        No. 98-720 C
                                  )
                 Plaintiff,       )
v.                                )                        Filed April 29, 2005
                                  )
THE UNITED STATES,                )
                                  )
                 Defendant.       )
_________________________________)


                                            ORDER

        On April 18, 2005, defendant filed a Motion in Limine to Exclude Testimony Regarding
Hypothetical, Post-Suspension Timber Purchases, document 314. Plaintiff filed a response to
defendant’s motion on April 28, 2005, document 334. In light of the fact that the Court has today
entered an Order permitting plaintiff to supplement its response to Request for Admission No.
10, defendant’s Motion in Limine to Exclude Testimony Regarding Hypothetical, Post-
Suspension Timber Purchases is DENIED.


IT IS SO ORDERED.

                                                     s/ George W. Miller
                                                    GEORGE W. MILLER
                                                    Judge
